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                                                  t
   REDACTED



                               BS�SPORTS
   VIA FED EX OVERNIGHT DELIVERY TRACKING NO. 777720832605

                                            November 15, 2016

    VIA Email: macndll�!::''luianc.cdu
    306 James W. Wilson. Jr. Center
    New Orleans. LA 70118

    Dear Brandon:

             The letter serves to summarize our agreement earlier this year to terminate the Gift and
    Naming Rights Agreement ("'Agreement'") between BSN SPORTS, LLC (formerly known as BSN
                                                             1
    Sports. Inc.) ("Donor·') and Tulane University (''Ttdanc' ) that was entered into by and between
    Donor and Tulane on November 15, 2014. A copy of the Agreement has been enclosed with this
    letter for your convenience.

          Pursuant to Section 4(a) or the Agreement, Tulane was obligated to spend al lcastlllllllllJ
   (''Annual Minimum Purchases") during each l 2-monlh period of the term of the Agreement on
   purdrnscs of sporting goods and equipment. uniforms and other athletic products from the Donor.
   Such obligation. coupled with other obligations under the Agreement was in consideration for an
   aggregate cash donation from Donor to Tulane equal to -- payable in ten installments of
   - each through July 2024. As or the date or this letter. Donor has made two installment
   payments totaling--

            The J\grccmcnt pro\·idccl that the Annual t'vt inimurn Purchases would be calculated as an
    average over the course of each successive 24-month period during the term or the Agreement.
    The first 24-month period C--Initial Period") began on July I, 2014 and expired on .I unc 30. 20 I 6.
    Tulane was obligated to purchase at kast-in sport1ng goods and equipment, unifom1s
    and other athletic products from the Donor during that time. At the end or the Initial Period,
    Tulane's purchases totaled only�

            Rather than continuing under the Agreement, we notified you of our desire to terminate the
    Agreement effective as of November 30, 2016 ('Termination Date") and enter into the BSN Sports
    Reward Program agreement ("Reward Agreement") attached hereto as Exhibit A, to be effective
    for six (6) years beginning June I. 20 I 7. As of the Termination Date, Oonor has no further
    obligations under the Agreement. including but not limited to the payment of any installment that
    is unpaid as of the date of this letter.




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           Donor also requested that the recognition and benefits (collectively, "Benefits") to be
   provided to Donor under Section 3 of the Agreement to continue for a period of five (5) years
   following the Tem1ination Date, with such Benefits to encl on November 30, 2021. The reason for
   this request is lo compensate Donor for th�n installment payments previously paid to
   Tulane.

          Brandon, please let me know if there is anything else you need regarding this matter. We
   look forward to hearing from you.

                                              Sincerely,




                                              Terrence M. Babilla
                                              President, COO & GC

    Enclosures
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                                         b
                                      BSNSPORTS-

                              BSN SPORTS REWARD PROGRAM

                                                FOR

                                       Tulane University


BSN SPORTS ("BSN") is pleased to offer Tulane University (Athletic Program) the BSN
SPORTS REWARDS PROGRAM for the purchase and supply of athletic apparel and
equipment for use by the school and its interscholastic programs.

BSN SPORTS Product Pricing: The school shall be able to purchase products at the
following discounts:
-Nike Team Apparel/Stock Uniforms             35% off Retail Price
-BSN Products                                 15% off Catalog Price
-BSN Catalog Branded Products                 10% off Catalog Price

All Custom Uniforms and Footwear will be priced separately. Custom apparel, decorated apparel and
footwear from any other manufacturers offered by BSN SPORTS will be at team discount pricing.

Decoration charges are not included in the above discounts.

Products sold to the Cheerleading coach will not be included in Spending level totals.

BSN SPORTS Products are identified in our catalog with a black star icon next to the product code.
BSN SPORTS catalog branded products are products distributed by BSN from a manufacturer such
as Wilson, Spalding, Rawlings, etc

My Team Shop: BSN SPORTS' online player pay site is required to be used by all varsity programs.
All other programs including club sports and organizations will be encouraged to participate. All MTS
sales including club and organizations will count towards rebate goals.

Shipping: The Athletic Program will pay freight charges on all orders.

Product Rebate: Subject to the terms below, at the end of each school year of this agreement, the
Athletic Program will receive a Product Rebate including selected products from BSN. The Product
Rebate will be selected from a list of products provided by BSN and subject to availability at the time
of order. Product Rebates are available after the requirements below are met and must be utilized
during each school budget year. All Product Rebates will be redeemed in May and June. A Product
Rebate balance does not carry over from year to year.
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Annual Spending Level     Annual Rebate Amount:
$100,000+                 8% of annual spend in Nike or other branded apparel
                          or BSN equipment at catalog price.

$75,000 - $99,999         Annual Rebate Amount:
                          6% of annual spend in Nike or other branded apparel
                          or BSN equipment at catalog price.

$50,000 - $74,999         Annual Rebate Amount:
                          4% of annual spend in Nike or other branded apparel
                          or BSN equipment at catalog price.



The maximum annual product rebate will be the amount above, inclusive of any manufacturer
incentives.

Any decoration or customization to rebate product is paid for by the Athletic Program.

Terms and Conditions: All purchases will be made through BSN SPORTS. Only products
purchased through BSN will be eligible for the Product Rebate.

The School and Athletic Program must be current on all payment obligations to BSN to be eligible for
the Product Rebate.

Term: The duration of this agreement is six (6) years from June 1, 2017 to May 31, 2023
("Term").

Acknowledged and Agreed to:

School Name                              BSN SPORTS




Athletic Director                        Vice President
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                                                �Tulane
                                                � University
                                      GIFT AND NAMING RIGHTS AGREEMENT

           This Gift and Naming Rights Agreement ("Agreement") is made and entered into, to be effective, as of
    November 15, 2014 (the ''Effective Date''), by and between BSN SPORTS, Inc., a Delaware corporation
    (together with its successors and assigns, ·�oonor''), an<l The Administrators of the Tulane Educational Fund, on
    behalf of Tulane University (collectively. "Tulane''). The part ics to this /\grecmcnt arc sometimes rdcrrc<l to
    individually as a "Party'' or collectively as the "Parties.''

          WHEREAS, Donor is engaged primarily in the business of marketing and selling sporting goods and
    equipment, uniforms and physical education products in th� United State and its possessions�

            WHEREAS, Tulane is an academic university and currently constructing Yulman Stadium, a new
    athletic stadium primarily for use by its football team (the ''Stadium'');

          WHEREAS, Donor desires to pledge to donate certain dollar amounts to Tulane, as set forth in this
    Agreement; and

            WHEREAS, as a material inducement for Donor entering into this Agreement, in exchange for Donor's
    pledge, Tulane desires to purchase a certain minimum quantity of sporting goods and equipment, uniforms and
    other athletic products from Donor, as set forth in this Agreement, and to provide certain marketing and
    publicity opportunitics, as well as other bcnclits. to Donor on the terms and conditions set forth in this
    Agreement.

          NOW, THEREFORE, in consideration of the foregoing premises and the mutual covenants and
    agreements contaim:d herein. each or the Parties agrees as set forth below.

     l.      Pledge and Schedule of Contribution

             (a) Donor pledges to deliver an aggregate cash amount equal to lllat       the "Donation Amount") to
             Tulane for the purposes described in this Agreement. The Donation Amount will be payable annually in
             ten equal installments of ...{each. an '·Annual Donation Installment'') on or before July 31 of
             each calendar year during the ten-year p�riod beginning on the Effective Date and ending on July 30,
             2024 (the "Term''). For the avoidance or doubt, the first Annual Donation Installment will be due and
             payable on December 31. 2014 and the second Annual Donation Installment will be due and payable on
             July 31, 2015.

             (b) Notwithstanding the foregoing, ir the construction of the Stadium (the "Project") is not completed
             by the due date or Donor's second /\nnual Donation Installment U.e., June 30, 2015), Donor's obligation
             with respect to the Donation Amount will be suspended until the Project is complete, and the Term (and
             due dates of the Annual Donation lnstallmc:nts) will be extended a period of time corresponding to the
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              length of any such suspension. In addition, during each 12-month period of the Tenn, if at least five
              Tulane home football games are not played in the Stadium for any reason, Donor's Annual Donation
              Installment will be suspended for 12 months, and the Tenn will be extended by one additional 12-month
              period.

               (c) Payments will be made in United States dollars by check or wire transfer, at Donor's discretion, to
               Tulane at the address set forth on the signature page to this Agreement, or to a bank which may be
               designated by Tulane in writing from time to time. Donor may accelerate the payment of any or all of
               the Donation Amount at any time in Donor's sole discretion.

      2.       Purpose of the Donation Amount

               The Donation Amount will be used to provide capital support of the Project and the subsequent on-going
               maintenance and improvements to the Stadium. Each Annual Donation Installment will be allocated
               solely to the Project or the Stadium, as applicable.

      3.       Recognition and Benefits

               (a) Unless Donor otherwise requests, Tulane will publish Donor's name in donor honor rolls, include
               Donor's name on the Stadium's donor recognition wall in a prominent place, and include Donor's name
               in any press releases or other publications relating to donors of Tulane. Tulane will provide Donor a
               copy of any such material prior to its release or publication. In addition, during each 12-month period of
               the Term, Donor also will be entitled to receive the additional benefits set forth on Exhibit A hereto, the
               Form to Accept or Decline Benefits, excluding any benefits that arc expressly declined by Donor with
               respect to such 12-month period.

               (b) Except as provided in this Agreement, neither Party will use any names, trademarks, service marks,
               trade dress, copyrights, or trade names of the other Party for any purpose without the prior written
               consent of the other Party, which consent will not be unreasonably withheld, conditioned or delayed.

               (c) In consideration of Donor's pledge to deliver the Donation Amount in accordance with the tenns
               and conditions set forth in this Agreement, Donor will receive naming rights ("Naming") to the
               Stadium's auxiliary scoreboard located at the North end of the Stadium (the ''Scoreboard") for the full
               duration of the Tenn, and mutually approved signage will remain in place on the Scoreboard during all
               events at the Stadium during the Term. The Scoreboard will be located in a prominent and mutually
               agreeable location in the Stadium. The Parties initially have approved the signage reflecting the Naming
               set forth on Exhibit B hereto. Any modification, alterations or changes to the signage reflecting the
               Naming must be approved in advance by the Parties in writing. BSN Signage will be installed on or
               before Tulane's Homecoming game on November 15, 2014.

                (d) Tulane will be solely responsible for all costs and expenses of producing, mounting, and
                maintaining the Scoreboard, including but not limited to the signage reflecting the Naming, necessary to
                keep the Scoreboard, including but not limited to the signagc reflecting the Naming, in good condition
                and repair.



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         (e) During the        Donor will have access to, and may use, the Stadium and its related          ies   at
         least two weekends (i.e., Friday at noon to Sunday at 5:00 pm, local time) to host Donor's national or
         regional sales meetings. These uses of the Stadium and its related             will take place in November
         on any                                  (or such other mutually agreeable month and time) and must be
         approved in advance by Tulane, which approval will not be unreasonably withheld, conditioned or
         delayed. Donor will be responsible only        the entertainment costs associated with such use, including
                beverages, decorations and wait        For the avoidance of doubt, with respect to such uses of the
         Stadium and its related                Donor shall not be responsible          the costs and expenses of
         maintenance, clean-up, utilities, insurance or any other similar charge or expense.

4.       Exclusive Vending Relationship

         (a) In consideration of the Donation Amount, Tulane            hereby enters into an exclusive vending
         relationship with Donor whereby, during the Term, Tulane will purchase                Donor all of its athletic
                   and equipment, other than       good components provided by vendors. As part of the exclusive
         vending relationship, Tulane will use its best         to secure      Donor the vending relationships of all
         of Tulane's intramural and athletic-related business during the          In addition, Tulane will use its best
                 to assist Donor and its            (including, without lim itation,        Jones and Varsit y Sports)
         with             other Tulane-related business opportunities during the            including, but not limited
         to, sales of class rings, yearbooks, graduation announcements and cap and gowns to Tulane and its
         student body. Notwithstanding anything to the contrary contained herein, the                            of the
         vending relationship will be backdated to July 1, 2014 and         through June 30, 2024. Tulane operates
         on a        year ending June 30 and will base all purchases on a              basis.

         (b) Tulane will spend at least      .       during each 12-month period (July 1 through June 30) of the
                on average over the course ofeach successive 24-month period              the Term, on purchases of
                    goods and equipment and other athletic products                 Donor (the "Annual Minimum
         Purchases"). Annual Minimum Purchases will be calculated on the gross sales revenues of the sporting
         goods and equipment and other athletic products                 Donor to Tulane less shipping, handling,
         expediting charges and          and does not include sales tax, discounts or other             reductions or
         deductions. For exemplary              only, (i) if Tulane made purchases of            __of           goods
         and equipment and other athletic products           Donor in the      12-month period of the         then, in
         the second 12-month period of the Term, Tulane would be required to make purchases of at least
                     or (ii) if Tulane made purchases of          .     of sporting goods and equipment and other
         athletic products         Donor in the third 12-month period of the           then, in the         12-month
                 of the        Tulane would be required to make purchases of at least $ j          For the avoidance
         of doubt, with respect to the Annual Minimum Purchases, the Term will consist of                   24-month
                  beginning on the            Date and purchases of products         Donor's           will not count
         toward the Annual Minimum Purchases.

          (c)   In connection with the Annual Minimum Purchases, Donor will make sporting goods and
          equipment,             and other athletic products avai lable to Tulane in accordance with Donor's
          ordinary course of business practices.

          (d) During the       Donor, in its sole discretion, may create and maintain an online virtual bookstore
                   the "my team shop" solution)        the sale of                equipment and merchandise to


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            Tulane and the general public. If Donor elects to create and maintain such virtual bookstore, the Parties
            will reasonably cooperate in good faith in order to assist Donor in fulfilling the obligations set forth
            herein.

    S.       Proprietary Marks

             (a) Subject to the tenns of this Agreement, Donor grants to Tulane a non-exclusive, royalty-free, non­
             transferable license during the Term to use "BSN SPORTS" and the related logo, including without
             limitation, any copyrights, trademarks, service marks, trade dress and other intellectual property relating
             to the same, and any derivatives, modifications or alterations thereof (collectively, the "Donor Marks")
             in connection with the promotion, marketing and operations of the Project, the Stadium and Scoreboard.
             The use of the Donor Marks is subject to the reasonable approval of Donor. Prior to the use of any
             Donor Marks, Tulane will notify Donor in writing of the proposed use of the Donor Marks. If Donor
             approves, in writing, of the proposed use of the Donor Marks, Tulane will have the right to use such
             Donor Marks pursuant to the tenns of this Agreement. If Donor does not notify Tulane in writing of
             Donor's disapproval of any submissions by Tulane, and the reasons for any such disapproval, within ten
             business days of such submission, Donor will be deemed to have approved the materials in the
             submission. For the avoidance of doubt, Tulane will only be required to obtain such prior approval from
             Donor once in connection with each such use of the Donor Marks; provided, however, Donor may
             revoke or otherwise rescind any such previously provided approval upon written notice to Tulane. The
              grant by Donor herein of a license to Tulane will not convey any right, title or interest in the Donor
              Marks for any use or purpose other than expressly provided herein, and Donor specifically reserves all
              such rights for itself.

             (b) Subject to the tenns of this Agreement, Tulane grants to Donor a non-exclusive, royalty-free, non­
             transferable license during the Tenn to use the names or phrases "Tulane," "Tulane University,"
             "Yulman Stadium," "Green Wave," and any related logos, including, without limitation, any copyrights,
             trademarks, service marks, trade dress and other intellectual property relating to the same, and any
             derivatives, modifications or alterations thereof (collectively, the "Tulane Marks") in connection with
             Donor's marketing and merchandising of its sporting goods and equipment, uniforms and other athletic
             products in its ordinary course of business practices. The use of the Tulane Marks is subject to the
             reasonable approval of Tulane. Prior to the use of any Tulane Marks, Donor will notify Tulane in
             writing of the proposed use of the Tulane Marks. If Tulane approves, in writing, of the proposed use of
             the Tulane Marks, Donor will have the right to use such Tulane Marks pursuant to the terms of this
             Agreement. If Tulane does not notify Donor in writing of Tulane's disapproval of any submissions by
             Donor, and the reasons for any such disapproval, within ten business days of such submission, Tulane
             will be deemed to have approved the materials in the submission. For the avoidance of doubt, Donor
             will only be required to obtain such prior approval from Tulane once in connection with each such use
             of the Tulane Marks; provided, however, Tulane may revoke or otherwise rescind any such previously
             provided approval upon written notice to Donor. Donor will not authorize any third party to use the
             Tulane Marks, except to the sole extent necessary for Donor's fulfillment of its obligations hereunder.
             The grant by Tulane herein of a license to Donor will not convey any right, title or interest in the Tulane
              Marks for any use or purpose other than expressly provided herein, and Tulane specifically reserves all
              such rights for itself.



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            (c) Donor hereby represents that it is the sole owner of the Donor Marks free and clear of any liens,
            claims or encumbrances and that the Donor Marks do not infringe on any copyrights, trademarks,
            service marks, trade dress or other intangible or intellectual property of any third party.

             (d) Tulane hereby represents that it is the sole owner of the Tulane Marks free and clear of any liens,
             claims or encumbrances and that the Tulane Marks do not infringe on any copyrights, trademarks,
             service marks, trade dress or other intangible or intellectual property of any third party.

    6.       Termination

             (a} Except as set forth herein, either Party will have the right to tenninate this Agreement at any time on
             written notice to the other Party in the event that such other Party materially breaches its obligations
             under this Agreement and fails to cure such breach within 30 days after receipt of written notice from
             the terminating Party setting forth in reasonable detail the nature of such breach.

             (b) In the event that this Agreement is terminable by either Party in accordance with the tenns of this
             Section 6, the non-defaulting Party may enforce the provisions of this Agreement by a suit in equity or
             at law for specific perfonnance of any covenant or agreement contained in this Agreement, or for the
             enforcement of any other legal or equitable remedy at law.

             (c) In the event that either Party is unable to perform (or is materially delayed in performing) its
             obligations hereunder or is unable to enjoy any of its benefits hereunder by reason of any act of God,
             fire, natural disaster, hurricane, accident, organized union or labor dispute or act of government (a
             "Force Majeure..), including, without limitation, the substantial damage or destruction of the Stadium or
             lost or delayed vendor products, in each case as a result of any Force Majeure, such Party will
             immediately give notice to the other Party of such fact and will use commercially reasonable efforts to
             restore, replace or otherwise mitigate the consequences hereunder of the Force Majeure. Upon receipt of
             such notice, each Party's obligations hereunder will be suspended for the period of time that the
             consequences hereunder of the Force Majcure remain in effect (the "Force Majeure Period").
             Notwithstanding any term herein, if the Force Majcure Period lasts 12 months or more from and after
             the date that a Party receives notice of such Force Majcure and such Party has been able to perform its
             obligations hereunder despite such Force Majeure, such performing Party may terminate this Agreement
             by giving notice thereof to the other Party.

     7.       Miscellaneous

              •   Applicable Law. This Agreement wilJ be governed by, and construed and interpreted in accordance
                  with, the substantive laws of the State of Delaware without regard to conflict-of-law principles. IN
                  NO EVENT WILL ANY PARTY BE LIABLE TO THE OTHER PARTY FOR SPECIAL,
                  INCIDENTAL, CONSEQUENTIAL, EXEMPLARY, PUNITIVE, MULTIPLE OR OTHER
                  INDIRECT DAMAGES, OR FOR LOSS-OF-USE DAMAGES, ARISING OUT OF PRODUCTS,
                  SALE, SUPPLYING OR FAILURE TO DELAY IN SUPPLYING PRODUCTS
                  CONTEMPLATED BY THIS AGREEMENT, SERVICES RELATED THERETO OR THE USE
                  OR RESULTS OF SUCH PRODUCTS, WHETHER BASED ON WARRANTY, CONTRACT,
                  TORT, STRICT LIABILITY, OR OTHERWISE EVEN IF SUCH PARTY HAS BEEN ADVISED
                  OF THE POSSIBILITY OF SUCH DAMAGES OR LOSSES.

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               •    Confide11tiality. Each Party acknowledges and agrees that this Agreement is confidential, and no
                    Party shall disclose this Agreement or any terms hereof to any third parties, except as may be
                    necessary to obtain advice and counseling from such Party's attorneys, accountants, or financial
                    advisors or as may otherwise be required through legal process. In the event that either Party is
                    required to disclose or reasonably believes that it will likely be required to disclose this Agreement
                    or any tenns of this Agreement through legal process, such Party shall promptly notify the other
                    party of such actual or anticipated disclosure.

               • Entire Agreement. This Agreement, including the Exhibits attached hereto, constitutes the entire
                 agreement of the Parties related to the subject matter hereof and supersedes any prior
                 understandings, agreements or representations by or between the Parties, whether written or oral,
                 relating to the subject matter hereof.

               • Relationship of Parties. Donor is an independent legal entity and is not the legal representative or
                 agent of Tulane for any purpose. Nothing contained in this Agreement will be deemed to create any
                 partnership, agency, or joint-venture relationship between the Parties.

               • Severability. Any tenn or provision of this Agreement that is invalid or unenforceable will not affect
                 the validity or enforceability of the remaining terms and provisions hereof. If the final judgment of a
                 court of competent jurisdiction declares that any tenn or provision hereof is invalid or
                 unenforceable, the Parties agree that the court making such determination will have the power to
                 replace any invalid or unenforceable tcnn or provision with a term or provision that is valid and
                 enforceable and that comes closest to expressing the intention of the Parties.

               • Multiple Counterparts. This Agreement may be signed in multiple counterparts, including by
                 portable document format (.pdf), all of which will constitute one and the same instrument.

               • Amendment. This Agreement may be amended at any time by written agreement signed by each
                 Party. The effective date of any amendment will be the date on which the last of the Parties signs it.

                • Further Assurances. From and after the Effective Date and without any further consideration, each
                  Party will execute and deliver to the other Party such further instruments or agreements as such Party
                  may reasonably request in order fulfill the obligations set forth herein.

                • Captions; Headings. The captions and headings in this Agreement have been inserted as a matter of
                  convenience and in no way define, limit or enlarge the scope of this Agreement.

                • Notices. All notices and other communications made under this Agreement must be in writing and (i)
                  personally delivered with signed receipt obtained acknowledging delivery; (ii) transmitted by
                  postage prepaid registered mail, return receipt requested; (iii) transmitted by facsimile or email,
                  subject to confirmation of receipt by the addressee; or (iv) sent by overnight express mail, to the
                  Parties at the addresses set forth on the signature page hereto. Any notice or communication
                  delivered in accordance with this Agreement will be deemed given on the date actually delivered;
                  provided that any notice or report deemed given or due on a Saturday, Sunday or legal holiday will
                  be deemed given or due on the next business day.
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               • Drafting Party. This Agreement expresses the mutual intent of the Parties, and accordingly the rule
                 of construction against the drafting Party will have no application to this Agreement.

                                                         [Signature page follows]




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    IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed by their duly authorized
    officers to be effective as of the Effective Date.


     DONOR:                                                   TULANE:

     BSN SPORTS, Inc.                                         The Administrators of the Tulane Educational Fund
     Attn: General Counsel                                    Attn: Rick Dickson, Athletic Director
     1901 Diplomat Drive                                      Tulane University
     Farmers Branch, TX 75234                                 333 Ben Weiner Drive
                                                              James W. Wilson Ctr.
                                                              New Orleans, LA 70118

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     By:    DocuSlaned Bv: Terrence M. Babilla                By:---------------
     Name: Terrence M. Babilla                                Name: Rick Dickson
     Title: President                                         Title: Athletic Director
     Phone: 972-406-3477                                      Phone: 504.865.5509
     Email: tbabilla@bsnsports.com                            Email:rpd@tulane.edu




      [Signature Page to Gift and Naming Rights Agreement]
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                                                                Exhibit A

                                                Form to Accept or Decline Benefits

      [Attached.]




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      Exhibit A to Gift and Naming Rights Agreement
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                                                               Exhibit B

                                                  Auxiliary Scoreboard Signagc




          BSNSPORTS

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